    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 1 of 78 PageID #:16655

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




    82 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 2 of 78 PageID #:16656

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




4



    83 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 3 of 78 PageID #:16657

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




4




5
    84 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 4 of 78 PageID #:16658

                                                                                Subject to Revision
    HIGHLY CONFIDENTIAL                                                           March 30, 2018




1




2
3                                j.     Coyote Moon on the DDC Web App

4           The following is a selection of artwork that was downloaded by the Chrome browser to my

5   computer by the DDC Web App when I played the Coyote Moon slot machine game for the first

6   time:




    85 | P a g e                                            EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 5 of 78 PageID #:16659

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    86 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 6 of 78 PageID #:16660

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    87 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 7 of 78 PageID #:16661

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    88 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 8 of 78 PageID #:16662

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    89 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 9 of 78 PageID #:16663

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2

    90 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 10 of 78 PageID #:16664

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    91 | P a g e                                    EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 11 of 78 PageID #:16665

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




    92 | P a g e                                    EXPERT REPORT OF ERIK LAYKIN
1   Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 12 of 78 PageID #:16666

                                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                                March 30, 2018

1

2                                  k.      Kitty Glitter on the DDC Web App

3           The following is a selection of artwork that was downloaded by the Chrome browser to my

4   computer by the DDC Web App when I played the Kitty Glitter slot machine game for the first time:




    93 | P a g e                                                EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 13 of 78 PageID #:16667

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    94 | P a g e                                    EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 14 of 78 PageID #:16668

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    95 | P a g e                                    EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 15 of 78 PageID #:16669

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    96 | P a g e                                    EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 16 of 78 PageID #:16670

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    97 | P a g e                                    EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 17 of 78 PageID #:16671

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    98 | P a g e                                    EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 18 of 78 PageID #:16672

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    99 | P a g e                                    EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 19 of 78 PageID #:16673

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




    100 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 20 of 78 PageID #:16674

                                                                                          Subject to Revision
     HIGHLY CONFIDENTIAL                                                                    March 30, 2018

1                          6.    Copyright and Trademark Ownership Information Displayed in
2                                DoubleDown Games with GC2 Content

3                                    a.       Copyright Information Displayed in the DDC Web App

4            I observed that a display of text stating information about copyright and trademark

5    ownership is included in the files offered by the DDC Media Server. In the case of the DDC Web

6    App, the copyright attribution information that is displayed to the player is contained within a

7    game-specific SWF file which is loaded in a player’s Web browser when that slot machine game

8    launches. This SWF file is sent to the player’s computer immediately before the rest of the game

9    is transmitted, and its contents are displayed as the rest of the game is downloaded.

10           For example, for the Pharaoh’s Fortune slot machine game on the DDC Web App, I

11   observed that a file called SplashPageSkin.swf is downloaded from the DDC Media Server as the

12   rest of the game is launching. 104 Figure 10 displays a screenshot of the Chrome Web browser as

13   the game loads. Below the Pharaoh’s Fortune logo, which is GC2 Copyrighted Material, is text

14   which reads: “All trademarks are registered trademarks or pending trademarks of IGT and/or its

15   licensors in the U.S. and/or other countries. © 2014 IGT. All rights reserved.” This copyright

16   notice precedes the display of the Pharaoh’s Fortune game, which is GC2 Copyrighted Material.

17   The aforementioned copyright notice is conveyed to the player in an SWF file that is a component

18   of the approximately 25 SWF files that comprise the core of the game.




     104
         At the time of this writing, SplashPageSkin.swf is being offered online at https://d-
     resource.doubledowncasino2.com/rgs/20171016/studios/saber/games/PharaohsFortune/assets/en/SplashPageSkin.sw
     f?buildnumber=R410.D1.0.F.CL262924_600
     101 | P a g e                                                  EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 21 of 78 PageID #:16675

                                                                                    Subject to Revision
     HIGHLY CONFIDENTIAL                                                              March 30, 2018




1




2

3            Figure 10. Screenshot in the Chrome Web browser of the Pharaoh’s Fortune game being
4            loaded. Note the copyright and trademark notice, along with the IGT corporate logo,
5            displayed underneath of the Pharaoh’s Fortune game image and above the red box with the
6            text “Where the World Plays!” A blowup of the copyright notice is also included.
7


8            An examination of SplashPageSkin.swf with the SWFRIP utility reveals that the base

9    image for the loading screen depicted in Figure 10 is contained within this SWF file. The extracted

10   image is included below as Figure 11. This image, when overlaid with other text and graphics

11   within the SWF file, forms the loading page (often referred to as a “splash page”) for the Pharaoh’s

     102 | P a g e                                             EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 22 of 78 PageID #:16676

                                                                                      Subject to Revision
     HIGHLY CONFIDENTIAL                                                                March 30, 2018

1    Fortune game. 105 An examination of the SplashPageSkin.swf file with an inspection tool reveals

2    that, at byte position 385,514, the text string “All trademarks are registered trademarks or pending

3    trademarks of IGT and/or its licensors in the U.S. and/or other countries. © 2014 IGT. All rights

4    reserved.” appears. This line is identical to the text displayed on the loading page. A screenshot of

5    this section of the SWF file, open in the inspection tool, is featured in Figure 12, below.

6               Indeed, the copyright ownership information IGT chose to attach to these games is

7    conveyed in the same SWF file as certain game images and graphics, and is transmitted in the

8    wave of SWF files that contain the core of the game.

9               The DDC Web App’s manner of dissemination of copyright and trademark ownership

10   information for Coyote Moon and Kitty Glitter is functionally identical to what I described above

11   for Pharaoh’s Fortune, although the game imagery delivered with the copyright and trademark

12   information is specific to each game. For completeness, screenshots of the Coyote Moon and

13   Kitty Glitter loading screens are included as Figures 13 and 14, respectively.




     105
           https://en.wikipedia.org/wiki/Splash_screen
     103 | P a g e                                              EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 23 of 78 PageID #:16677

                                                                            Subject to Revision
    HIGHLY CONFIDENTIAL                                                       March 30, 2018




1
2           Figure 11: Image extracted from the Pharaoh’s Fortune SplashPageSkin.swf file using
3           SWFRIP. This image forms the basis for the loading page on the DDC Web App.
4
5




    104 | P a g e                                        EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 24 of 78 PageID #:16678

                                                                                Subject to Revision
    HIGHLY CONFIDENTIAL                                                           March 30, 2018




1
2           Figure 12: The HxD Binary Editor with SplashPageSkin.swf from the Pharaoh’s Fortune
3           game open. The highlighted section on the right shows the copyright notice, while the
4           highlighted section in the middle shows the same data in a binary representation. The
5           column on the left shows that we are 385,514 bytes into the file (approximately 376 KB.
6           Note that 5E1EA in Base-16, which is being displayed, is equivalent to 385,514 in Base-
7           10, which is the system humans use to characterize numbers).
8
9




    105 | P a g e                                           EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 25 of 78 PageID #:16679

                                                                         Subject to Revision
    HIGHLY CONFIDENTIAL                                                    March 30, 2018




1

2           Figure 13: The Coyote Moon loading screen with copyright ownership information
3           displayed.
4
5
6
7




    106 | P a g e                                      EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 26 of 78 PageID #:16680

                                                                                           Subject to Revision
     HIGHLY CONFIDENTIAL                                                                     March 30, 2018




1

2            Figure 14: The Kitty Glitter loading screen with copyright ownership information
3            displayed.
4                                     b.    Copyright Information Displayed in the DDC Android
5                                     App and DDC iOS App

6            While the DDC Android App is loading a particular slot machine game, a copyright notice

7    is displayed under the game imagery. A sample screenshot of the Pharaoh’s Fortune game loading

8    on my Android Test Phone is included below as Figure 15. Note where, below the Pharaoh’s head,

9    the text “All trademarks are registered trademarks or pending trademarks of IGT in the U.S. and/or

10   other countries. ©2017” is displayed. While the Pharaoh’s Fortune game was being loaded on my

11   Android Test Phone, my team and I observed a file titled “package_ddislots_en_common_gz.js”

12   be downloaded from the DDC Media Server. 106 Based on my knowledge of software engineering,



     106
         At time of this writing, this file is offered at https://m-
     resource.doubledowncasino2.com/games/mobile/1.1.21/mobile/scripts/packages/ddislots/package_ddislots_en_com
     mon_gz.js
     107 | P a g e                                                  EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 27 of 78 PageID #:16681

                                                                                        Subject to Revision
     HIGHLY CONFIDENTIAL                                                                  March 30, 2018

1    the name of this file indicated that it is a software “package”, or shared code, for “DDI Slots”, with

2    components in the English language (“en”), containing the “common” phrases and code functions

3    for DDI Slots, compressed for easy transmission using GZIP (“gz”), 107 and written in JavaScript

4    (“js”). This copyright ownership information is conveyed to the player’s device in the wave of

5    files that contain the core of the game.




6

7               Figure 15: The Pharaoh’s Fortune loading screen on the Test Android Phone. Note the text
8               “All trademarks are registered trademarks or pending trademarks of IGT in the U.S. and/or
9               other countries. © 2017” and the IGT logo in the lower right corner.
10              On lines 24-26 of this file, I observed a JavaScript function that would return the following

11   language: “All trademarks are registered trademarks or pending trademarks of IGT in the U.S.

12   and/or other countries. ©2017”. It is therefore apparent to me that the copyright ownership

13   information for GC2’s Pharaoh’s Fortune is being transmitted in this file.




     107
           https://www.gnu.org/software/gzip/
     108 | P a g e                                                 EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 28 of 78 PageID #:16682

                                                                                    Subject to Revision
     HIGHLY CONFIDENTIAL                                                              March 30, 2018

1            The mechanisms for distribution and display of the copyright ownership information for

2    Coyote Moon and Kitty Glitter is identical -- the same file is used.

3            The mechanisms for distribution of the copyright notice within the DDC iOS App is

4    identical to that used in the DDC Android App; the mechanisms are identical.

5                                     c.       Terms of Use Notices

6            The DDC Mobile Apps and DDC Web App both offer a link to the DDI’s “Terms of Use.”

7    This link points to a “Terms” page on doubledowninteractive.com. 108 The link is the same for the

8    DDC Web App and the DDC Mobile Apps. A PDF of this Web page is included as Exhibit E. In

9    the case of the DDC Web App, a link to this Terms page is presented in the footer of the website

10   as the website loads. In the case of the DDC Mobile Apps, a JavaScript file that contains the link

11   to these Terms is automatically downloaded by the app when it is opened for the first time. This

12   JavaScript file is downloaded within the same wave of downloads as the slot machine icons.

13           Before accessing DoubleDown Casino, users must agree to IGT’s Terms of Use. 109 IGT’s

14   Terms of Use for DoubleDown Casino assert that DoubleDown owns “all right, title and interest,

15   including copyrights” to all of the content in DoubleDown Casino. 110 The Terms of Use also claim

16   that DoubleDown “retain[s] all rights in the content, … graphics, … pictures, [and] video.” 111 In

17   other words, DoubleDown states that it controls and has the rights to all of the content in

18   DoubleDown Casino. IGT’s Terms of Use also requires its users to agree to defend and indemnify

19   it from all claims arising out of the use of DoubleDown Casino. 112


     108
         http://www.doubledowninteractive.com/terms/index.html
     109
         Complaint Exhibit 2
     110
         Complaint Exhibit 2
     111
         Complaint Exhibit 2
     112
         Complaint Exhibit 2
     109 | P a g e                                               EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 29 of 78 PageID #:16683

                                                                                                    Subject to Revision
     HIGHLY CONFIDENTIAL                                                                              March 30, 2018

1                             7.     Public Display/Public Performance

2             Based on my review of the DDC Web App, the DDC Android App and the DDC iOS App,

3    it would be easy for me to play any or all of Pharaoh’s Fortune, Coyote Moon, and Kitty Glitter

4    and receive GC2 images on my own device in a public venue, such as a Starbucks coffee shop. 113

5    Indeed, the premise of most mobile apps and mobile games is that they may be played nearly

6    anywhere. I am not a lawyer, but it is my understanding that playing the game in such a public

7    venue would fall within the definition of Public Display and Public Performance as defined in 17

8    USC §101. 114 The technology employed by DDI transmits the slot machine games at issue in this

9    case to the public using the Internet, which I consider to be a “device or process.” Multiple

10   members of the public can play the games simultaneously, whether collocated in the same public

11   venue, or spread out across the country. The ability to play the games is not contingent upon the

12   time of day, nor is it a requirement that the games be played contemporaneously with other players.

13   I further understand that GC2 retains exclusive rights to such a Public Display and Public

14   Performance, and that IGT’s continued dissemination of GC2 Copyrighted Material in the manner

15   described in this report therefore infringes upon GC2’s rights of Public Display and Public

16   Performance, amongst others, based upon 17 USC §106. 115



     113
        Sigrist Deposition, p. 41-42
     114
        17 USC §101 (“To “perform” a work means to recite, render, play, dance, or act it, either directly or by means of
     any device or process or, in the case of a motion picture or other audiovisual work, to show its images in any
     sequence or to make the sounds accompanying it audible.”) (“To perform or display a work “publicly” means—

     (1) to perform or display it at a place open to the public or at any place where a substantial number of persons
     outside of a normal circle of a family and its social acquaintances is gathered; or

     (2) to transmit or otherwise communicate a performance or display of the work to a place specified by clause (1) or
     to the public, by means of any device or process, whether the members of the public capable of receiving the
     performance or display receive it in the same place or in separate places and at the same time or at different times.”)
     115
         17 USC §106 (4) (“in the case of literary, musical, dramatic, and choreographic works, pantomimes, and motion
     pictures and other audiovisual works, to perform the copyrighted work publicly”)
     110 | P a g e                                                         EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 30 of 78 PageID #:16684

                                                                                              Subject to Revision
     HIGHLY CONFIDENTIAL                                                                        March 30, 2018

1                     B.       IGT Interactive

2                            1.    IGT Interactive Business Line, Internet Wagering, and Free Play

3            IGT produces and distributes interactive gaming and makes it available to players through

4    its agreements with casino operators. 116 IGT’s interactive games allow users to play casino style

5    games over the Internet on casino websites for real money or for fun. 117 When playing for fun,

6    users have the option of purchasing additional virtual casino chips to continue playing, though

7    players do not have the ability to win actual money. 118

8            IGT’s distribution relationships include Caesars Interactive, Golden Nugget and

9    Borgata. 119 When working with its distributors, IGT integrates its games and back-end computer

10   systems into the distributor’s computer systems so that, from the players’ perspective, IGT’s games

11   appear as if they are being offered directly by the distributor. 120 IGT’s interactive gaming system

12   allows its distributors to collect player, gaming and financial data and includes tools to analyze the

13   data collected. 121 As long as the user is physically located in an area where online gambling is

14   legal, the user can also access IGT’s real money games on the distributor’s website on any

15   computer with an Internet connection, either at home or using mobile Internet. 122

16           One of the “fundamental principles” of IGT’s interactive game development was to

17   identify successful Land-Based Games and then adapt them for use in the interactive segment of




     116
         Complaint Exhibit 22.
     117
         Complaint Exhibit 22.
     118
         Complaint Exhibit 22.
     119
         https://www.igt.com/products-and-services/interactive/solutions/real-money-gaming.
     https://www.igt.com/products-and-services/interactive/platforms/igt-rgs;
     https://interactive.igtgames.com/content/interactive/igaming/en/casino.html
     120
         https://www.igt.com/products-and-services/interactive/solutions/real-money-gaming
     121
         https://www.igt.com/products-and-services/interactive/solutions/real-money-gaming
     122
         Shorrock Deposition, p. 56.
     111 | P a g e                                                      EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 31 of 78 PageID #:16685

                                                                                    Subject to Revision
     HIGHLY CONFIDENTIAL                                                              March 30, 2018

1    the market. 123 When adapting Land-Based Games into interactive games, IGT wanted the

2    interactive games to use the same visuals as the original Land-Based Games. 124 IGT saw value in

3    developing interactive games from popular Land-Based Games with known and appealing artwork

4    and math models. 125 IGT knew that for users, the graphics were “an important element without

5    question” and users can develop an attachment to the characters in video slot machines; therefore

6    IGT wanted its interactive games to share visual continuity with the Land-Based Games they were

7    modelled on. 126

8            The interactive and mobile versions of the software do not contain the same final software

9    product as the Land-Based Games. To accurately understand how the software in Land-Based

10   Games is different from the software in an interactive game, it helps to understand the basics of

11   the “client-server” model. 127 Although the name may sound intimidating, the client-server model

12   is relatively simple: it describes one way that computers can share data over computer networks,

13   such as the Internet, or the one that might be installed in an office. In the client-server computer

14   model, the “client” refers to a computer that requests data from a “server” over a network. For

15   example, if one were to use a personal computer or mobile phone to watch a video on YouTube,

16   the computer/phone would act as a client and request the video from YouTube’s server.

17           Similar to how a user could play a video on YouTube through their computer’s Web

18   browser by going to YouTube’s website, users can also play the interactive version of IGT’s games

19   through their computer’s Web browser by going to the website of one of IGT’s distributors, such



     123
         Shorrock Deposition, p. 19-20, 72.
     124
         Shorrock Deposition, p. 70.
     125
         Shorrock Deposition, p. 62-66.
     126
         Shorrock Deposition, p. 68-69, 71.
     127
         https://en.wikipedia.org/wiki/Client-server_model
     112 | P a g e                                             EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 32 of 78 PageID #:16686

                                                                                       Subject to Revision
     HIGHLY CONFIDENTIAL                                                                 March 30, 2018

1    as Bet365, Gala Coral, Sky, or Caesar’s Interactive Entertainment. 128 When a user is playing an

2    interactive IGT game on the Internet, the user’s computer is the client and requests data from IGT’s

3    server. When a user is playing an IGT game on a distributor’s website, a portion of IGT’s software

4    is downloaded onto the user’s computer. 129 This portion of the software is known as the client-
                      130
5    side software.         The client-side software does not control the outcome of a game, it simply

6    receives data from the server and displays that data in a visually appealing way. The client-side

7    software does not include the payout tables or random number generator, which controls the

8    outcomes of the user’s bets; the payout tables and random number generator stays on IGT’s or its

9    affiliate’s servers. 131

10           When a player or prospective player visits the website of one of IGT’s distributors, the

11   player will arrive at a webpage known as an “operator lobby” which is maintained by the

12   distributor. 132 In the operator lobby, the user finds a menu listing the games that are available to

13   play. 133 Each game is represented by a small image, or icon, the user can click this image to launch

14   the game. 134 The icons for IGT’s games are generally a piece of art from the game and are delivered

15   to the distributor by IGT’s gaming service department. 135 GC2 Copyrighted Material is used by

16   IGT within these operator lobbies for the games at issue in this case. When a player clicks on the

17   icon for a game, the player’s computer will download and launch the client-side components of

18   IGT’s game, which includes the artwork and graphics for the game. 136


     128
         Kastner 30(b)(6) Deposition, p. 213, 247; Shorrock Deposition, p. 51-52.
     129
         Shorrock Deposition, p. 54-55, 92;
     130
         Shorrock Deposition, p. 53-54.
     131
         Shorrock Deposition, p. 39-41, 53-54.
     132
         Supplemental Response to Interrogatory No. 5
     133
         Shorrock Deposition, p. 52.
     134
         Shorrock Deposition, p. 52-53.
     135
         Shorrock Deposition, p. 52.
     136
         Shorrock Deposition, p. 53-54.
     113 | P a g e                                                       EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 33 of 78 PageID #:16687

                                                                                    Subject to Revision
     HIGHLY CONFIDENTIAL                                                              March 30, 2018

1            Revenue from interactive gaming is generated from both social gaming and IGT’s real-

2    money gambling products. 137 Social gaming revenues are received for the sale of virtual casino

3    chips which are purchased by the user. 138 IGT’s real-money gambling products generate revenue

4    as part of the revenue sharing agreement IGT has with its partner casinos who distribute its

5    games. 139

6            Additionally, IGT maintains a private website and private login section of www.IGT.com

7    for operators and licensees where IGT makes promotional material and videos available for

8    download. 140 This marketing material contains GC2’s artwork and graphics and can be

9    downloaded by casino operators, such as Caesars Interactive, to assist them in marketing games

10   containing GC2’s artwork and graphics. 141

11                          2.    RGS Customers - IGT Agreements with Operators

12           As mentioned above, IGT has contracts that include revenue sharing provisions with the

13   operators that distribute IGT’s games. Casino games are designed to ensure that, in the long run,

14   the house always wins, a statistical advantage often referred to as the “house advantage.” 142 The

15   casino’s gaming revenue is derived from this house advantage. 143 IGT’s contracts with its licensees

16   stipulate the percentage of the casino’s revenue after taxes and deductions that IGT receives; IGT

17   is essentially receiving royalties and is therefore provided with obvious incentives to keep players

18   engaged. 144


     137
         Complaint Exhibit 22.
     138
         Complaint Exhibit 22.
     139
         Complaint Exhibit 22.
     140
         Shorrock Deposition, p. 204-205, 209-210.
     141
         Shorrock Deposition, p. 204-205, 209-210.
     142
         https://en.wikipedia.org/wiki/Casino_game#House_advantage
     143
         https://en.wikipedia.org/wiki/Casino_game#House_advantage
     144
         Kastner 30(b)(6) Deposition, p. 95.
     114 | P a g e                                                   EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 34 of 78 PageID #:16688

                                                                                    Subject to Revision
     HIGHLY CONFIDENTIAL                                                              March 30, 2018

1             In addition to describing the revenue sharing arrangement between IGT and the operators,

2    IGTs agreements also describe each parties’ technical operational requirements and

3    responsibilities to support the gaming platform. 145 IGT shares access to its RGS game testing

4    environment for development testing and assists the operator with integrating and customizing

5    how IGT’s games work on their webpage. 146 IGT provides the operator with an application

6    protocol interface, or API, which enables the user to click on an IGT game icon on the operator’s

7    website and play that game from IGT’s servers. 147         Without the provision of these IGT

8    components, IGT’s games, including Games which contain GC2 artwork and graphics, would not

9    be correctly distributed to the users. 148 IGT also agrees with operators to provide and support the

10   correct display of art assets for the game menu and game page displays. 149

11            The operator has obligations to IGT as well. The operator must perform system integration

12   planning and software development to ensure that IGT’s games are available on the operator’s

13   website. 150

14            Beyond software and computer network integration, IGT’s agreements with operators also

15   represent that IGT has rights to GC2 Copyrighted Material and agrees to indemnify the operator

16   for intellectual property infringement. 151 IGT’s agreement with an operator allows it to modify its

17   games to avoid intellectual property infringement. 152




     145
         Clelland Deposition Exhibit 70, 71, and 73.
     146
         Kastner 30(b)(6) Deposition, p. 253-254.
     147
         Kastner 30(b)(6) Deposition, p. 254-255.
     148
         Kastner 30(b)(6) Deposition, p. 255.
     149
         Kastner 30(b)(6) Deposition, p. 256-257.
     150
         Kastner 30(b)(6) Deposition, p. 259.
     151
         Kastner 30(b)(6) Deposition, p. 261.
     152
         Kastner 30(b)(6) Deposition, p. 264.
     115 | P a g e                                             EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 35 of 78 PageID #:16689

                                                                                     Subject to Revision
     HIGHLY CONFIDENTIAL                                                               March 30, 2018

1                            3.    Operators’ Connections to the IGT Remote Game Server

2            Although IGT offers its games through its operators’ websites, the games themselves are

3    not housed within the operator’s internal IT infrastructure. 153 When a user visits the website of an

4    IGT operator, the operator lobby webpage, where a user can select a game to play, is maintained

5    by the operator and distributed by the operator’s servers and IT infrastructure. 154 IGT’s remote

6    game servers (RGS) distribute IGT’s games to the end users through the operator’s webpages. 155

7    IGT’s RGS is itself a product that IGT offers its operators. 156

8            When a user visits the website of one of IGT’s affiliates, they are presented with a series

9    of icons for the various games available. Clicking on one of these icons causes the associated slot

10   machine game to be loaded. This behavior is discussed in greater detail in section V.B.4.a, below.

11   When a user plays a spin on an IGT slot machine game, the user’s computer sends a signal to the

12   random number generator on IGT’s server via the Internet. 157 The random number generator

13   determines the outcome of the user’s spin and transmits that outcome to the user’s computer. 158

14           IGT’s RGS integrates into the operator’s platform and aides the management of digital

15   patron wallets, responsible gaming functionality, fraud detection and prevention, customer

16   relationship management, player accounting, and player analytics. 159 IGT maintains RGS servers




     153
         Supplemental Response to Interrogatory No. 5.
     154
         Supplemental Response to Interrogatory No. 5.
     155
         Shorrock Deposition, p. 92.
     156
         Shorrock Deposition, p. 93.
     157
         Supplemental Response to Interrogatory No. 5.
     158
         Supplemental Response to Interrogatory No. 5.
     159
         Complaint Exhibit 22.
     116 | P a g e                                               EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 36 of 78 PageID #:16690

                                                                                         Subject to Revision
     HIGHLY CONFIDENTIAL                                                                   March 30, 2018

1    in New Jersey, Canada, Gibraltar and Alderney. 160 IGT’s servers record the outcome of every spin

2    including the date, time, and amount wagered. 161

3            In the United States, once a user selects an IGT game to play, the user’s computer is

4    connected to an IGT RGS server located in IGT’s New Jersey data center. 162 IGT’s data center

5    contains numerous servers hosting various components of IGT’s games. 163 One such component

6    is each game’s “logic” or “math” which controls the outcome of each spin of the virtual slot

7    machine the user is playing. 164        The logic of an IGT game is influenced by a random number

8    generator and is regulated by the State of New Jersey. 165 The logic and math of the IGT games

9    remain on IGT’s servers while the user is playing the game and are not downloaded to the user’s

10   computer. 166

11
12                           4.    Users Connections to IGT Remote Game Servers

13           IGT makes their games available online for real-money play through several channels,

14   including via Caesars Casino (“Caesars”). The 2011 legalization of online gambling within New

15   Jersey167 allowed for the expansion of Caesar’s operations in Atlantic City and resulted in the

16   release of a Web and iOS app to allow players to play “anytime, anywhere, in New Jersey!” 168

17           Caesars, via the caesarscasino.com website (the “Caesars Web App”), makes a variety of

18   casino games, including slots, roulette, and video poker, available to online players. The Caesars


     160
         Kastner 30(b)(6) Deposition, p. 11-12, 15-16, 20-21.
     161
         Supplemental Response to Interrogatory No. 5.
     162
         Supplemental Response to Interrogatory No. 5.
     163
         Supplemental Response to Interrogatory No. 5.
     164
         Supplemental Response to Interrogatory No. 5.; Shorrock Deposition, p. 40-41.
     165
         Supplemental Response to Interrogatory No. 5.
     166
         Shorrock Deposition, p. 39-41, 53-54.
     167
         https://en.wikipedia.org/wiki/Gambling_in_New_Jersey#Online_gambling
     168
         https://www.caesarscasino.com/
     117 | P a g e                                                      EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 37 of 78 PageID #:16691

                                                                                  Subject to Revision
     HIGHLY CONFIDENTIAL                                                            March 30, 2018

1    Web App can be accessed from locations outside of New Jersey, and allows “demo play,” which

2    is not for money, without asking for a player’s location. My team and I played the demos for

3    Pharaoh’s Fortune, Coyote Moon, and Kitty Glitter from our offices in Los Angeles.

4            In order to confirm that real-money play was consistent with our demo play, my team and

5    I had a colleague who was a New Jersey resident access caesarscasino.com from a laptop while

6    within New Jersey. This laptop had been previously configured with the Fiddler 4 tool. Our

7    colleague signed up for real-money gaming and added $100 from his personal bank account. At

8    no point while this laptop was in New Jersey did myself or another non-New Jersey based

9    technician interact with it.

10           The resulting network traffic capture from Fiddler 4 was transmitted back to Los Angeles,

11   where my team analyzed it and confirmed that gameplay within New Jersey for real money is

12   substantially identical to gameplay in a “demo mode” from Los Angeles.




     118 | P a g e                                            EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 38 of 78 PageID #:16692

                                                                                 Subject to Revision
     HIGHLY CONFIDENTIAL                                                           March 30, 2018

1                                 a.     The Caesars Casino Website




2
3            From a technical perspective, the Caesars Web App is conceptually similar to the DDC

4    Web App. On the Caesars app, media assets, including SWF files that are substantially similar to

5    the SWF files used by the DDC Web App, are delivered from a server at

6    “platform.ac.rgsgames.com” (the “Caesars Media Server”). I am informed that this server is

7    located within the State of New Jersey, in keeping with the rules promulgated by the New Jersey

8    Gaming Commission.

9            Similarly,   the Caesars   Web    App    communicated    with   a control    server at

10   “nyxnj.games.cwgds.com” and exchanged game play information, such as game spins (the

11   “Caesars Gameplay Server”). The communications I observed with the Caesars Gameplay server

12   were structured within a computer-readable format known as XML, or Extensible Markup

13   Language. However, the communications I saw with the Caesars Gameplay Server were generally

     119 | P a g e                                           EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 39 of 78 PageID #:16693

                                                                                             Subject to Revision
     HIGHLY CONFIDENTIAL                                                                       March 30, 2018

1    similar in style and substance to the communications I saw with the DDC Gameplay server for the

2    DDC Web App.

3            In the section on the DDC Web App, I discussed the SWF file for Pharaoh’s Fortune named

4    “SplashPageSkin.swf.” This file contains the copyright notice information that is displayed as

5    Pharaoh’s Fortune loads. An equivalent file is served by the Caesars Media Server. 169 A

6    comparison of this file and the one offered by the DDC Media Server showed that they were byte-

7    for-byte identical. Furthermore, the Caesars Media Server offered a Cache Control header for this

8    file specifying that it should be kept by the Web browser for 14 days. 170

9            A collection of images contained within the SWF files that were downloaded when we

10   played Pharaoh’s Fortune, Coyote Moon, and Kitty Glitter on the Caesars Web App and that

11   contain GC2 Copyrighted Material is provided below in Section V.B.5.a.




     169
         At time of this writing, this was
     https://platform.ac.rgsgames.com//studios/saber/games/PharaohsFortune/assets/en/SplashPageSkin.swf?revisionTag
     =73ee4f4f-cc51-46f3-842b-1a5abdfc1509
     170
         “Cache-Control: max-age=1209600, public, must-revalidate”; 1,209,600 seconds is equivalent to 14 days.
     120 | P a g e                                                    EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 40 of 78 PageID #:16694

                                                                                           Subject to Revision
     HIGHLY CONFIDENTIAL                                                                     March 30, 2018

1                                         b.      Caesars Casino for iOS




2
3               Similarly, Caesar’s makes an app available for iOS called “Caesars Real Money Casino

4    NJ” (the “Caesars iOS App”). 171 Due to technical limitations, my team and I were unable to

5    capture or play on this app from within New Jersey, but we were able to play and analyze it from

6    Los Angeles. IGT’s 30(b)(6) witness, Steve Kastner, stated that the artwork and graphics that are

7    displayed on the end user’s screen while playing Coyote Moon would be the same in New Jersey,

8    Canada, Alderney, Gibraltar, or other player locations during game play within and without New

9    Jersey. 172 The same artwork and graphics files that are served from the IGT central servers are

10   served in the same manner out of NJ, Canada, Gibraltar, or Alderney. This is consistent with my

11   observations for the Caesars Web App, from which my team and I were able to play non-wagering

12   demonstrations in multiple locations.




     171
           https://itunes.apple.com/us/app/caesars-real-money-casino-nj/id876336616?mt=8
     172
           Kastner 30(b)(6) Deposition, p. 11-12, 15-16, 20-21.
     121 | P a g e                                                       EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 41 of 78 PageID #:16695

                                                                                      Subject to Revision
     HIGHLY CONFIDENTIAL                                                                March 30, 2018

1               The Caesars iOS App communicated with the same Caesars Gameplay Server as used by

2    the Caesars Web App. The general mechanics of this interaction appear to be the same for the

3    Caesars Web App and the Caesars iOS App.

4               The Caesars iOS App downloads sprite sheets and gameplay logic from

5    “m.ac.rgsgames.com” (the “Caesars Mobile Media Server”). This server, based on its IP address,

6    is likely in the same building as the Caesars Media Server. These sprite sheets are slightly different

7    in layout from the ones sent by the DDC Media Server, and some images are transmitted

8    independently, but the general structure is conceptually the same as for the DDC iOS App.

9                                          c.       Caesars Casino for Android

10              My team and I were not able to identify a Caesars real-money app available on the Google

11   Play Store or on the Amazon Appstore. The Google Play store does not allow real-money gambling

12   apps to be distributed on it within the United States. 173 This has likely caused Caesars to not

13   develop such an app.

14                              5.     Artwork Assets Transferred Playing the Games

15              Exhibit G contains the full set of images that were transferred when the Caesars apps were

16   played. The Exhibit contains a total of 2,174 images. Included below in Subsections a-c are

17   selected images from Exhibit G that were downloaded from the Caesars Media Server.




     173
           https://play.google.com/about/restricted-content/gambling/
     122 | P a g e                                                      EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 42 of 78 PageID #:16696

                                                                                Subject to Revision
    HIGHLY CONFIDENTIAL                                                           March 30, 2018

1                                a.     Caesars Casino Web

2           The following is a selection of images that were downloaded by the Chrome browser to

3   my team’s computer in New Jersey by the Caesars Web App when my colleague played the

4   Pharaoh’s Fortune, Coyote Moon and Kitty Glitter slot machine games for the first time:




5




6




7



8




9




    123 | P a g e                                           EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 43 of 78 PageID #:16697

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




    124 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 44 of 78 PageID #:16698

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




    125 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 45 of 78 PageID #:16699

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    126 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 46 of 78 PageID #:16700

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    127 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 47 of 78 PageID #:16701

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




    128 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 48 of 78 PageID #:16702

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2

    129 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 49 of 78 PageID #:16703

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3

    130 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 50 of 78 PageID #:16704

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




    131 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 51 of 78 PageID #:16705

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2


    132 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 52 of 78 PageID #:16706

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




    133 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 53 of 78 PageID #:16707

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




    134 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 54 of 78 PageID #:16708

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




4




    135 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 55 of 78 PageID #:16709

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




    136 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 56 of 78 PageID #:16710

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




4




    137 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 57 of 78 PageID #:16711

                                                                                        Subject to Revision
    HIGHLY CONFIDENTIAL                                                                   March 30, 2018




1




2




3

4                                  b.      Caesars Casino iOS – Pharaoh’s Fortune

5           The following is a selection of artwork that was downloaded to my Test iPhone by the Caesars

6   iOS App when I played the Pharaoh’s Fortune slot machine game for the first time:




    138 | P a g e                                               EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 58 of 78 PageID #:16712

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2


    139 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 59 of 78 PageID #:16713

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2


    140 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 60 of 78 PageID #:16714

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




    141 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 61 of 78 PageID #:16715

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




    142 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 62 of 78 PageID #:16716

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    143 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 63 of 78 PageID #:16717

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




4




5




6




    144 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 64 of 78 PageID #:16718

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




4




5


6




    145 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 65 of 78 PageID #:16719

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2




3




4




    146 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 66 of 78 PageID #:16720

                                                                                       Subject to Revision
     HIGHLY CONFIDENTIAL                                                                 March 30, 2018




 1




 2

 3                                   c.      Caesars Casino iOS – Kitty Glitter

 4           The following is a selection of artwork that was downloaded to my Test iPhone by the Caesars

 5   iOS App when I played the Kitty Glitter slot machine game for the first time:




 6




 7




 8




 9




10




11
     147 | P a g e                                                 EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 67 of 78 PageID #:16721

                                                                      Subject to Revision
     HIGHLY CONFIDENTIAL                                                March 30, 2018



 1




 2




 3




 4




 5




 6




 7




 8




 9




10




     148 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 68 of 78 PageID #:16722

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




2


3




4




    149 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 69 of 78 PageID #:16723

                                                                                          Subject to Revision
     HIGHLY CONFIDENTIAL                                                                    March 30, 2018



1




2

3                          6.    Copyright Management Ownership Information Displayed in IGT
4                                Interactive/RGS Games with GC2 Content

5            As with the DDC Web App, I observed that during a gameplay on Caesars Web App and

6    the Caesar’s iOS App the display of text stating information about copyright and trademark

7    ownership is included in the files offered by the Caesar’s Media Server. Just like the DDC Web

8    App, the copyright attribution information that is displayed on the Caesar’s Web App is contained

9    within a game-specific SWF file which is loaded in a player’s Web browser when that slot machine

10   game launches. For the Pharaoh’s Fortune slot machine game on the Caesar’s Web App, I

11   observed that a file called SplashPageSkin.swf is downloaded from the Caesar’s Media Server as

12   the rest of the game is launching. 174 Figure 16 displays a screenshot of the Chrome Web browser

13   as the game loads. Below the Pharaoh’s Fortune logo, which is GC2 Copyrighted Material, is text

14   which reads: “All trademarks are registered trademarks or pending trademarks of IGT and/or its

15   licensors in the U.S. and/or other countries. © 2014 IGT. All rights reserved.” This copyright

16   notice precedes the display of the Pharaoh’s Fortune game, including other graphics and images




     174
         At the time of this writing, SplashPageSkin.swf is being offered online at https://d-
     resource.doubledowncasino2.com/rgs/20171016/studios/saber/games/PharaohsFortune/assets/en/SplashPageSkin.sw
     f?buildnumber=R410.D1.0.F.CL262924_600
     150 | P a g e                                                  EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 70 of 78 PageID #:16724

                                                                                Subject to Revision
    HIGHLY CONFIDENTIAL                                                           March 30, 2018

1   that are GC2 Copyrighted Material. It is my understanding that GC2 has not licensed this artwork

2   to IGT for the purposes of online interactive or mobile games.




3




4

5           Figure 16: Screenshot in the Chrome Web browser of the Pharaoh’s Fortune game being
6           loaded on a laptop. A blowup of the copyright notice is also included.
7




    151 | P a g e                                            EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 71 of 78 PageID #:16725

                                                                                                    Subject to Revision
     HIGHLY CONFIDENTIAL                                                                              March 30, 2018

1             The Caesars iOS App loads a file from the Caesars Mobile Media Server titled

2    “strings.json”. 175 This file contains the following line: “All trademarks are registered trademarks

3    or pending trademarks of IGT in the U.S. and/or other countries. © 2014 IGT. All rights reserved.”

4             As with the DDC apps, this copyright ownership information is conveyed to the player’s

5    device in the wave of files that contain the core of the game.

6                             7.     Public Display/Public Performance

7             Based on my review of the Caesars Web App and the Caesars Mobile App, it would be

8    easy for me to play any or all of Pharaoh’s Fortune, Coyote Moon, and Kitty Glitter and receive

9    GC2 images on my own device in a public venue, such as a Starbucks coffee shop. Indeed, the

10   promise of Caesars Casino is that the player can play “anytime, anywhere,” 176 and IGT also touts

11   its mobile capabilities with respect to interactive gaming. 177 I am not a lawyer, but it is my

12   understanding that playing the game in such a public venue would fall within the definition of

13   Public Display and Public Performance as defined in 17 USC §101. 178 The technology employed

14   by IGT and its affiliates transmits the slot machine games at issue in this case to the public using

15   the Internet, which I consider to be a “device or process.” Multiple members of the public can play



     175
         At the time of this writing, this was available at
     https://m.ac.rgsgames.com/games/assets/strings.json?countrycode=CA&channel=MOB&language=en&currencycod
     e=FPY&softwareid=200-1236-003&presenttype=STD&tag=0585d477211c6374b70ae1b02cc0fe07
     176
         https://www.caesarscasino.com/
     177
         Clelland deposition Exhibit 76, p. 49
     178
         17 USC §101 (“To “perform” a work means to recite, render, play, dance, or act it, either directly or by means of
     any device or process or, in the case of a motion picture or other audiovisual work, to show its images in any
     sequence or to make the sounds accompanying it audible.”) (“To perform or display a work “publicly” means—

     (1) to perform or display it at a place open to the public or at any place where a substantial number of persons
     outside of a normal circle of a family and its social acquaintances is gathered; or

     (2) to transmit or otherwise communicate a performance or display of the work to a place specified by clause (1) or
     to the public, by means of any device or process, whether the members of the public capable of receiving the
     performance or display receive it in the same place or in separate places and at the same time or at different times.”)
     152 | P a g e                                                         EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 72 of 78 PageID #:16726

                                                                                                Subject to Revision
     HIGHLY CONFIDENTIAL                                                                          March 30, 2018

1    the games simultaneously, whether collocated in the same public venue, or spread out across the

2    country. The ability to play the games is not contingent upon the time of day, nor is it a requirement

3    that the games be played contemporaneously with other players. I further understand that it is

4    GC2’s contention that it retains exclusive rights to such a Public Display and Public Performance,

5    and that as such IGT’s continued dissemination of GC2 Copyrighted Material therefore infringes

6    upon GC2’s rights of Public Display and Public Performance, amongst others, based upon 17 USC

7    §106. 179

8                     C.       Masque and Encore CD-ROMs for PC/Mac and Website Download

9                            1.    IGT’s Relationship with Masque

10           IGT’s business relationship with Masque - a developer and publisher of non-wagering

11   casino style computer games for Macintosh and Windows operating systems – has spanned

12   decades. 180 Masque distributes its games not only through brick and mortar retail stores and its

13   own website, but also through online retailers such as Amazon.com. 181 Masque’s games are

14   offered to its customers via both digital download and physical discs, traditionally referred to as

15   CD-ROMs. 182 Some of the games that Masque sold contained GC2 Copyrighted Material. These

16   images were present within the games themselves as well as on the packaging for the physical

17   disks. 183



     179
         17 USC §106 (4) (“in the case of literary, musical, dramatic, and choreographic works, pantomimes, and motion
     pictures and other audiovisual works, to perform the copyrighted work publicly”)
     180
         https://www.masque.com/about_us; 1999 Trademark and Copyright License Agreement; 2010 Restated
     Trademark and Copyright License.
     181181
            https://www.masque.com/about_us;
     https://www.amazon.com/Masque-
     Publishing/b/ref=bl_dp_s_web_3445232011?ie=UTF8&node=3445232011&field-lbr_brands_browse-
     bin=Masque+Publishing
     182
         Complaint, paragraph 59; https://www.masque.com/game/2839/igt-slots-lil-lady
     183
         Complaint, paragraph 144-152.
     153 | P a g e                                                      EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 73 of 78 PageID #:16727

                                                                                           Subject to Revision
     HIGHLY CONFIDENTIAL                                                                     March 30, 2018

1            Since 1999, IGT has had various licensing agreements with Masque. 184 These agreements

2    give Masque a license to reproduce and distribute what IGT represented were its trademarked and

3    copyrighted graphics and artwork in Masque’s retail distribution of computer games. 185 The

4    games IGT licensed to Masque include games containing GC2’s artwork and graphics, including

5    Pharaoh’s Fortune, Lucky Lion Fish, Wild Goose Chase, Festival Fantastico, Kingpin Bowling,

6    and Maid of Money. 186 In IGT’s 2010 licensing agreement with Masque, IGT asserts that it has

7    the full legal right to license GC2’s artwork and graphics, and goes on to assert that any derivative

8    works created by Masque under the licensing contract shall be the exclusive property of IGT. 187

9    IGT additionally requires Masque to hold IGT harmless from any third-party lawsuits. 188 In

10   exchange for the license to IGT’s games, Masque agreed to pay IGT royalties on the CD-ROMs it

11   distributed. 189

12                         2.     Content on Discs Distributed by Masque

13           CD-ROMs containing versions of multiple slot machine games, including Pharaoh’s

14   Fortune, Lucky Lion Fish, Wild Goose Chase, Festival Fantastico, Kingpin Bowling, and Maid of

15   Money are distributed by Masque Publishing Inc. (“Masque”). CD-ROMs, also referred to as

16   “computer discs,” were widely used to distribute computer games prior to the transition to

17   downloading games over the Internet in the late 2000s.




     184
         1999 Trademark and Copyright License Agreement; 2010 Restated Trademark and Copyright License
     185
         1999 Trademark and Copyright License Agreement; 2010 Restated Trademark and Copyright License
     186
         2010 Restated Trademark and Copyright License MASQ_000015 at p. 12
     187
         2010 Restated Trademark and Copyright License MASQ_000015
     188
         2010 Restated Trademark and Copyright License MASQ_000015
     189
         2010 Restated Trademark and Copyright License MASQ_000015
     154 | P a g e                                                  EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 74 of 78 PageID #:16728

                                                                                                 Subject to Revision
     HIGHLY CONFIDENTIAL                                                                           March 30, 2018

1            IGT sent Masque a hard drive with artwork and graphics for Lucky Lionfish, Festival

2    Fantastico and Wild Goose Chase in January 2009. 190 IGT sent Masque a hard drive with artwork

3    and graphics for Pharaoh’s Fortune, Kingpin Bowling, and Maid of Money in January and

4    February of 2011. 191 I understand that these games contain GC2 Copyrighted Material. I

5    understand that GC2 has not extended to IGT nor to Masque a license to use this copyrighted

6    artwork and graphics on interactive games.

7            Each of the discs I have examined is generally consistent in structure. Each disc contains

8    an executable file or files appropriate for the operating system it is designed for (e.g. Mac OS X,

9    Windows 8, etc.) This executable file serves as an “installer,” which assists the user in copying the

10   game files and logic from the disc onto their personal computer.

11           For most of the discs, the files that would be copied onto the computer include a number

12   of Flash files. I discuss Flash files at length in Section V.A.4. The files on these discs are generally

13   analogous in content and structure to the files found on other IGT game platforms making use of

14   Flash, such as the DDC Web App and the Caesars Web App, discussed in Sections V.A.4 and

15   V.B.4.a, respectfully.

16           A small number of the discs did not make use of Flash files. Nonetheless, GC2 Copyrighted

17   Material is resident on the discs, and is copied over to a player’s computer when the disc contents

18   are installed.

19           Indeed, the boxes and packaging for these discs contains imagery that appears to

20   incorporate GC2 Copyrighted Material. Section V.C.3.a, below, contains a selection of


     190
         Wisler Deposition pp 42-44; see also Defendant Masque Publishing Inc.’s Answers to Plaintiffs First
     Interrogatories, Answer number 13.
     191
         Defendant Masque Publishing Inc.’s Answers to Plaintiffs First Interrogatories, Answer number 13.
     155 | P a g e                                                       EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
     Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 75 of 78 PageID #:16729

                                                                                  Subject to Revision
     HIGHLY CONFIDENTIAL                                                            March 30, 2018

1    photographs my team and I took of these discs when we acquired them. Section V.C.3.b, also

2    below, contains a selection of artwork that my team and I extracted from the discs, using similar

3    methods to those described above.

4            The CD-ROM discs my team and I analyzed were produced by the relevant defendant in

5    this case during discovery.

6                        3.    Artwork Assets Utilized and Copied Playing the Games

7            Exhibit H contains the full set of images that we found on the Masque discs, as well as

8    photos my team took of the packaging for the CD-ROM discs. The Exhibit contains a total of 183

9    images. Due to the volume of images, only a selected subset of these images are included below

10   in Subsections a and b.

11                                 a.     Photos of Masque Packaging

12           The following are photos taken by my team of the packaging of several Masque discs. Note

13   the inclusion of GC2 Copyrighted Material.




     156 | P a g e                                            EXPERT REPORT OF ERIK LAYKIN
     Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 76 of 78 PageID #:16730

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    157 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 77 of 78 PageID #:16731

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    158 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
    Case: 1:16-cv-08794 Document #: 328-2 Filed: 11/21/18 Page 78 of 78 PageID #:16732

                                                                     Subject to Revision
    HIGHLY CONFIDENTIAL                                                March 30, 2018




1




    159 | P a g e                                   EXPERT REPORT OF ERIK LAYKIN
    Case No. 16-cv-8794
